
PER CURIAM.
Larry Alverson appeals from the trial court's judgment, following a jury trial, convicting him of one count of burglary in the first degree in violation of Section 569.160 RSMo (2000), four counts of sodomy in the first degree in violation of Section 566.060 RSMo (2014), and five counts of armed criminal action in violation of Section 571.015 RSMo (2000). We affirm.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed pursuant to Rule 30.25(b).
